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14   YUZHEN ZHANG

15                                   UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF CALIFORNIA
16                                        OAKLAND DIVISION
17   THE BOARD OF TRUSTEES OF THE                                 Case No. 4:19-cv-02904-SBA
     LELAND STANFORD JUNIOR UNIVERSITY,
18                                                                STIPULATION: (1) VACATING
                              Plaintiff,                          CERTAIN PRETRIAL AND TRIAL
19                                                                DATES PENDING RULING ON
             vs.                                                  MOTION FOR DISQUALIFICATION;
20                                                                AND (2) SETTING DEADLINE FOR
     ZHANG YUZHEN, an individual; FAN MIAO,                       JOINT STATUS REPORT FOLLOWING
21   an individual; FAN MAO, an individual; and all               RULING ON MOTION FOR
     persons unknown, claiming any legal or                       DISQUALIFICATION; [PROPOSED]
22   equitable right, title, estate, lien, or interest in the     ORDER
     property described in the complaint adverse to
23   plaintiff’s title, or any cloud upon plaintiff’s title       Judge: Honorable Saundra Brown Armstrong
     thereto,
24                                                                Pretrial Conference: January 11, 2023
                              Defendants.                         Trial: January 24, 2023
25

26

27

28                                                          -1-
                                STIP. VACATING CERTAIN PRETRIAL AND TRIAL DATES; [PROPOSED] ORDER
                                                                          Case No: 4:19-CV-02904-SBA
                                                                                                 4896-0252-8042.v2
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1           WHEREAS, the Court’s January 30, 2020 Civil Minute Order [Dkt. 31] and the January 30,

2    2020 Order for Pretrial Preparation [Dkt. 32] set the following pretrial and trial dates:

3                                   Event                                                Date
4     Deadline to Amend Pleadings:                                        05/15/20
5     Expert Disclosures and Reports:                                     10/11/21
6     Close of Fact Discovery:                                            09/13/21
7     Rebuttal Expert Designation:                                        11/08/21
8     Close of Expert Discovery:                                          12/06/21
9     Law and Motion Cutoff:                                              01/12/22
10    Trial (5 days):                                                     03/22/22
11    Pretrial Conference:                                                03/09/22
12    Pretrial Preparation due:                                           01/26/22
13    Motions In Limine / Objections to Evidence:                         02/09/22
14    Responses to Motions in Limine / Obj. to Evidence:                  02/16/22
15
      Replies due:                                                        02/23/22
16

17          WHEREAS, pursuant to the Stipulation Continuing Pretrial and Trial Dates; [Proposed]

18   Order [Dkt. 78] filed by the parties on August 6, 2021, the Court filed its August 6, 2021 Stipulation

19   Continuing Pretrial and Trial Dates; Order [Dkt. 79] (the “Scheduling Order”) in which it set the

20   following pretrial and trial dates:

21                                   Event                                               Date

22    Deadline to Amend Pleadings:                                         Unchanged [05/15/20]

23    Expert Disclosures and Reports:                                      07/11/22

24    Close of Fact Discovery:                                             06/13/22

25    Rebuttal Expert Designation:                                         08/08/22

26    Close of Expert Discovery:                                           09/06/22

27    Law and Motion Cutoff:                                               10/11/22

28                                                     -2-
                               STIP. VACATING CERTAIN PRETRIAL AND TRIAL DATES; [PROPOSED] ORDER
                                                                         Case No: 4:19-CV-02904-SBA
                                                                                                 4896-0252-8042.v2
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1     Trial (5 days):                                                     01/24/23
2     Pretrial Conference:                                                01/11/23
3     Pretrial Preparation due:                                           11/23/22
4     Motions In Limine / Objections to Evidence:                         12/07/22
5     Responses to Motions in Limine / Obj. to Evidence:                  12/14/22
6     Replies due:                                                        12/21/22
7
            WHEREAS, Plaintiff and Counterclaim Defendant The Board of Trustees of The Leland
8
     Stanford Junior University (“Stanford”) on May 24, 2022 filed a motion to disqualify DLA Piper
9
     LLP (US) as counsel for Defendant and Counterclaim Plaintiff Zhang Yuzhen [Dkt. 88], noticing the
10
     hearing on the motion for July 13, 2022; and
11
            WHEREAS, the Court on July 8, 2022 took the hearing on Stanford’s motion to disqualify
12
     under submission and vacated the hearing date;
13
            IT IS HEREBY STIPULATED that:
14
                     (1)     All future dates set by the Scheduling Order shall be vacated; and
15
                     (2)     within 30 days of the date that the Court rules on Stanford’s motion to
16
            disqualify, or the appearance of new counsel (if necessary), whichever is later, the
17
            parties shall submit a Joint Status Report in which they state their position concerning
18
            new pretrial and trial dates, including how to treat dates that have occurred during the
19
            pendency of the motion to disqualify and otherwise.
20

21
      Dated: July 25, 2022                                    MARK D. LITVACK
22                                                            JEFFREY D. WEXLER
                                                              PILLSBURY WINTHROP SHAW
23                                                            PITTMAN LLP

24                                                                 /s/ Mark D. Litvack
                                                        By:              MARK D. LITVACK
25
                                                              Attorneys for Plaintiff and Counterclaim
26                                                            Defendant THE BOARD OF TRUSTEES
                                                              OF THE LELAND STANFORD JUNIOR
27                                                            UNIVERSITY and Counterclaim
                                                              Defendant LI NANYANG
28                                                     -3-
                              STIP. VACATING CERTAIN PRETRIAL AND TRIAL DATES; [PROPOSED] ORDER
                                                                        Case No: 4:19-CV-02904-SBA
                                                                                               4896-0252-8042.v2
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1     Dated: July 25, 2022                                     DLA PIPER LLP
                                                               MATTHEW J. JACOBS
2                                                              CALEB LIN

3                                                                  /s/ Matthew J. Jacobs
                                                         By:            MATTHEW J. JACOBS
4
                                                               Attorneys for Defendant and Counterclaim
5                                                              Plaintiff YUZHEN ZHANG
6

7
     GOOD CAUSE APPEARING, it is ORDERED that:
8
                   (1)     All future dates set by the August 6, 2021 Stipulation Continuing
9
            Pretrial and Trial Dates; Order [Dkt. 79] shall be vacated; and
10
                   (2)     within 30 days of the date that the Court rules on Stanford’s motion to
11
            disqualify, or the appearance of new counsel (if necessary), whichever is later, the
12
            parties shall submit a Joint Status Report in which they state their position concerning
13
            new pretrial and trial dates, how to treat dates that have occurred during the pendency
14
            of the motion to disqualify and otherwise.
15

16
     SO ORDERED this _____ day of ___________, 2022.
17

18

19                                                       The Honorable Saundra Brown Armstrong
                                                         United States District Judge
20

21
            Pursuant to Local Rule 5-1(i)(3), I attest under penalty of perjury that concurrence in the
22
     filing of this document has been obtained from Matthew J. Jacobs, counsel for defendant and
23
     counterclaim plaintiff Zhang Yuzhen.
24
                                                                  /s/ Mark D. Litvack
25
                                                            Mark D. Litvack
26

27

28                                                    -4-
                             STIP. VACATING CERTAIN PRETRIAL AND TRIAL DATES; [PROPOSED] ORDER
                                                                       Case No: 4:19-CV-02904-SBA
                                                                                               4896-0252-8042.v2
